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 4
                          UNITED STATES DISTRICT COURT
 5
                         EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,              )     CASE NO. 08CR282 LJO
                                            )
 8                   Plaintiff,             )     ORDER FOR RETURN OF
                                            )     NOTES AND DEEDS OF TRUST
 9      v.                                  )
                                            )
10   FELIPE DE JESUS MUNOZ,                 )
                                            )
11                   Defendant.             )
                                             )
12
13      The above-named defendant having surrendered to the custody

14   of the Bureau of Prisons as directed;

15      IT IS HEREBY ORDERED that the Notes and Deeds of Trust posted

16   in this matter be returned to the surety.

17            Deed No.:                     Date Recorded:

18            2008-0540378                  10/06/2008

19            2008-0540379                  10/06/2008

20            2008-0540380                  10/06/2008

21            2008-0108459                  10/07/2008

22                   IT IS SO ORDERED.

23   Dated:   January 14, 2010               /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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